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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

SAGI GENGER, Civ. No.: 14-5683 (KBF)
Plaintiff,
- against -

ORLY GENGER,

Defendant.

 

 

ORLY GENGER’S MEMORANDUM OF LAW IN SUPPORT OF HER MOTION
TO DISQUALIFY JOHN DELLAPORTAS FROM ACTING AS COUNSEL FOR
SAGI GENGER AT TRIAL UNDER THE “WITNESS ADVOCATE RULE”

ZEICHNER ELLMAN & KRAUSE LLP
1211 Avenue of the Americas
New York, New York 10036
Telephone: (212) 223-0400
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PRELIMINARY STATEMENT

One of the disputed issues at trial will concern certain communications between
Attorney Lance Harris (“Harris”) and Attorney John Dellaportas (“Dellaportas”) between
January 23, 2014 and February 15, 2014. Those conversations are disputed -- Dellaportas has
gone so far as to brand Harris’ recollection of those conversations an “old fashioned lie.” Those
conversations are important. It is well-settled New York law that Sagi Genger (“Sagi”) cannot
seek reimbursement from Orly Genger (“Orly”) unless he first notified her of a potentially
covered claim and gave her an opportunity to defend against that claim. See, e.g., Chase

Manhattan Bank v. 264 Water St. Assocs., 222 A.D.2d 229, 231 (1st Dept. 1995).

Sagi avers that he paid Dalia on February 3, 2014, only five days (two business
days) after Sagi gave Orly proof of Dalia’s demand on January 29, 2014, and less than two
weeks after Sagi first provided Orly counsel with a copy of the Sagi Promise Document and
November Document on January 23, 2014. Sagi seeks to excuse this hurried timeline by
contending he was unaware that Orly objected to Sagi paying the demand. In so contending,
Sagi heavily relies on Dellaportas’ claim that Harris is wrong, and that Harris never informed
Dellaportas by telephone of Orly’s many objections to payment. Importantly, Dellaportas is the

only Sagi witness to his version of the fact and content of those conversations.

To try and avoid the witness-advocate rule, Dellaportas has not placed himself on
his witness list. Instead he intends to call a “representative from Morgan, Lewis and Bockius
LLP who can substantiate telephone records of the firm.” Apparently, Dellaportas intends to
testify at trial about his personal and exclusive knowledge of the contents of those conversations

between himself and Harris (and the amount of those conversations) through the questions he
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asks that representative, and by the questions he asks Mr. Harris on cross-examination. This
tactic is improper. However he seeks to accomplish the feat, Dellaportas cannot be both a

witness and an advocate.

STATEMENT OF FACTS

One of Orly’s defenses at trial will be that she was not given a reasonable
opportunity to defend against Dalia’s demand before Sagi paid that demand. In support, Orly
will call Harris who will testify that he informed Sagi (through Dellaportas) that Dalia’s claim
was flawed and should not be paid. See, e.g., 11/13/14 Harris Decl. § 5 [Docket No. 49-21].

Sagi disputes that proffered testimony, and does so through the testimony of Dellaportas.

On January 23, 2014, Sagi informed Orly and her counsel of the existence of the
Sagi Promise Document, the November Document, and of Dalia’s purported demand. 11/13/14
Harris Decl. J§ 2-3 [Docket No. 49-21]. Sagi first provided Orly counsel with a copy of Dalia
Genger’s written demand for $200,000 on January 29, 2014. 1/29/14 Email [Docket No. 43-6].
Eight days later on February 3, 2014, Sagi claims he made a check payable to Dalia in the
amount of $200,000, which was cashed on February 6, 2014. Sagi Check and Statement [Docket

No. 43-11].

Between January 23, 2014 and February 3, 2014, Sagi did not inform Orly that
Sagi was about to pay Dalia’s purported demand under the Sagi Promise Document. 11/13/14
Orly Decl. § 10 [Docket No. 49-20]. Sagi paid Dalia even though, during that same time period,
Orly counsel informed Sagi counsel that it disputed the validity and enforceability of the Sagi

Promise Document and November Document, and asked for the original documents in order to
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have them examined before Sagi paid Dalia. 1/24/14 Email [Docket No. 33-6]; 11/13/14 Harris

 

Decl. §§ 5-6 [Docket No. 49-21]. Specifically, Harris states as follows:

Between this January 23, 2014 meeting and February 15, 2014, I
had several telephone conversations with Sagi counsel John
Dellaportas about the Sagi Promise Document and the November
Document. During at least one such telephone call, I told Mr.
Dellaportas that Orly believed the Sagi Promise Document was
unenforceable and would not stand up to judicial scrutiny. Among
other things, I told Mr. Dellaportas that the Sagi Promise
Document and November Document did not appear to be
supported by valid consideration, and were therefore,
unenforceable. I also told Mr. Dellaportas that the Sagi Promise
Document and November Document would likely not stand up to
judicial scrutiny because, among other things, (i) we had not been
able to review the original executed documents, (ii) Arie Genger
had denied that his divorce settlement with his wife included any
such clawback, (iii) Orly did not remember the November
Document or any clawback agreement as part of the Divorce
Stipulation (as defined in the moving brief), (iv) copies of the Sagi
Promise Document and November Document, while called for,
was not produced previously in any Genger litigation, and (v)
Dalia neither disclosed the Sagi Promise Document and/or
November Document, or listed them as marital assets, during the
marital arbitration she brought pursuant to the Divorce Stipulation
in or around 2007.

During my conversations with Mr. Dellaportas between January
23, 2014 and February 15, 2014, Mr. Dellaportas never informed
me that Sagi had paid Dalia pursuant to the Sagi Promise
Document. Similarly, Mr. Dellaportas did not tell me, in sum or in
substance, that Sagi was about to pay Dalia, unless Orly objected
to the payment.

11/13/14 Harris Decl. at J] 5-6 [Docket No. 49-21].

Sagi disputes the sworn testimony of Lance Harris. Thus, on Friday, November
14, 2014, Sagi responded to Orly’s Statement of Undisputed Facts in support of Summary
Judgment (“Sagi Counterstatement”) as follows:

64. Disputed. Orly relies upon misstatements in a declaration

submitted by Lance Harris in which Mr. Harris represents that
“Between this January 23, 2014 meeting and February 15, 2014, I
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had several telephone conversations with Sagi counsel John
Dellaportas about the Sagi Promise Document and the November
Document.” See Leinbach Decl. Exh. 62 (Harris Decl. 5). Mr.
Dellaportas’ phone records demonstrate that Mr. Harris did not
have “several telephone conversations” but only one 3.8 minute
telephone call on the evening of February 7, 2014 in which Mr.
Dellaportas and he discussed another matter. See Answr. Decl.
Exh. NN (Reply Declaration of John Dellaportas, dated July 7,
2014, § 4 and Exh. D).

Sagi Counterstatement §{ 64 [Docket No. 55]. Accord Sagi Memo of Law in Opposition to
Summary Judgment at 25 (filed November 14, 2014) [Docket No. 57]; Reply Declaration of

John Dellaportas (filed as Exhibit NN on Friday, November 14, 2014) at ¥ 4 [Docket No. 56-2].

On Monday, November 17, 2014, Sagi provided his Plaintiff's Witness List,

which included a representative to “substantiate telephone records:”

6. A representative from Morgan, Lewis and Bockius LLP
who can substantiate telephone records of the firm.

Plaintiff's Exhibit List (Declaration of Yoav M. Griver at Exhibit A).

While the “representative” may possibly speak as to the telephone records, he/she

cannot speak as to the substance of any of the calls on those records.
ARGUMENT

Under New York law, an indemnitor cannot seek reimbursement from an
indemnitee unless the indemnitor first notifies the indemnitee of a potentially covered claim and
gives it an opportunity to defend. See Chase Manhattan Bank v. 264 Water St. Assocs., 222
A.D.2d 229, 231 (1st Dept. 1995) (one who “fails to notify an indemnitor about an impending
settlement proceeds at his own risk”); Perkins & Will Partnership v. Syska & Hennessy &

Garfinkel, Marenberg & Associates, 50 A.D.2d 226, 231 (1st Dept. 1975), aff'd on other
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grounds, 41 N.Y.2d 1045 (1977). “[I]t is well established under New York law that, where an
indemnitor does not receive notice of an action settled by the indemnitee, ‘in order to recover
reimbursement [for the settlement], [the indemnitee] must establish that [it] would have been
liable and that there was no good defense to the liability.”” Deutsche Bank Trust Co. of Ams. v.

Tri-Links Inv. Trust, 74 A.D.3d 32, 39 (1st Dept. 2010) (citation omitted). !

Sagi’s payment to Dalia before informing Orly that he was paying Dalia, and in
disregard of Orly’s stated concerns and request that she be given time to examine the documents
and consider the matter (see Statement of Facts), prevented Orly from challenging the
enforceability of the Sagi Promise Document, and resulted in a waiver of Sagi’s indemnification
claim as a matter of law. See Ballard v. Parkstone Energy, LLC, 664 F.Supp.2d 325, 330-31

(S.D.N.Y. 2009).

One of Sagi’s responses is to proffer Dellaportas’ testimony that Harris did not

inform him of Orly’s concerns.

Rule 3.7 of the New York Rules of Professional Conduct, provides in relevant
part that “[a] lawyer shall not act as advocate before a tribunal in a matter in which the lawyer is
likely to be a witness on a significant issue of fact.” N.Y. R. Prof] Conduct § 3.7(a). While
“courts must guard against tactical use of motions to disqualify,” and the party “seeking

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disqualification bears a heavy burden of proving disqualification is necessary,” “any doubts are

 

Even if an indemnity agreement does not contain a notice provision, “the implied covenant of good faith
warrants reading into the contractual procedure a requirement that notice be given within a reasonable time so as
to afford a meaningful opportunity of participation.” Perkins & Will Partnership v. Syska & Hennessy &
Garfinkel, Marenberg & Associates, 50 A.D.2d 226, 231 (1st Dept. 1975).
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to be resolved in favor of disqualification.” Acker v. Wilger, 12 Civ. 3520 (JMF), 2013 U.S.

Dist. LEXIS 47606, *2-3 (S.D.N.Y. March 29, 2013) (citations omitted).

“The witness-advocate rule is concerned with preventing potential taint at trial.”
Ross_y. Blitzer, 09 Civ. 8666 (HB), 2009 U.S. Dist. LEXIS 119014, *10 (S.D.N.Y. Dec. 21,
2009) (emphasis in original). The Second Circuit Court of Appeals summarized the policies
behind the witness-advocate rule as follows:

We have identified four risks that Rule 3.7(a) is designed to
alleviate: (1) the lawyer might appear to vouch for his own
credibility; (2) the lawyer’s testimony might place opposing
counsel in a difficult position when she has to cross-examine her
lawyer-adversary and attempt to impeach his credibility; (3) some
may fear that the testifying attorney is distorting the truth as a
result of bias in favor of his client; and (4) when an individual
assumes the role of advocate and witness both, the line between
argument and evidence may be blurred, and the jury confused.
These concerns matter because, if they materialize, they could
undermine the integrity of the judicial process.

Murray v. Metro. Life Ins. Co., 583 F.3d 173, 178 (2d Cir 2009) (internal citation omitted);

Dorchester Financial Holdings Corp. v. Banco BRJ, S.A., 11-CV-1529 (KMW)(KNF), 2014
USS. Dist. LEXIS 98088, *15-16 (S.D.N.Y. July 18, 2014) (motion to disqualify counsel based

on witness-advocate rule granted).

Here, as with the attorney who was disqualified in Dorchester, Dellaportas
appears to be the only Sagi witness to the telephone conversation, as such he cannot serve as an
advocate for Sagi.

An attorney who is likely to be a witness on a significant issue of
fact cannot perform, simultaneously, an advocate’s role at a
proceeding because performing those two roles: witness and
advocate creates a conflict. That conflict cannot be resolved by the
attorney’s decision not to testify, since that would place the
attorney’s interest in serving as an advocate above the client’s
interest in presenting helpful testimony. In the circumstance of this
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case, the Court finds that Morrow is likely to be a witness on a
significant issue of fact in this action, and cannot serve a dual role
as witness and advocate.

Dorchester, 2014 U.S. Dist. LEXIS 98088, *18-19. This is true even if Dellaportas attempts to
get his version of the facts in through his cross-examination of Harris or through an unidentified
representative. Dellaportas will still (1) appear to vouch for his own credibility through the
questions he asks about the phone calls in which he participated; (2) place opposing counsel in a
difficult position when he has to cross-examine Dellaportas to impeach his credibility regarding
his version of the phone calls; and (3) be blurring the line between argument and evidence,

confusing the jury.
CONCLUSION

While Sagi has many able attorneys who can advocate for him at trial,
Dellaportas’ proper place is as a witness. To attempt to elicit testimony about the number and
substance of the phone calls that took place between him and Harris between January 23, 2014
and February 15, 2014, while being an advocate would violate the witness-advocate rule.
Accordingly, Orly Genger respectfully requests the Court (i) grant her motion to disqualify
Dellaportas as counsel at trial; and (ii) grant Orly such other and further relief as the Court deems
just and proper.

Dated: New York, New York
November 18, 2014 ZEICHNER ELLMAN & KRAUSE LLP

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By: UL ap CO
Yoav M. Griver
Bryan D. Leinbach
Attorneys for defendant Orly Genger
1211 Avenue of the Americas
New York, New York 10036
(212) 223-0400

 
